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 9
                          IN THE UNITED STATES DISTRICT COURT
10
                               FOR THE DISTRICT OF ARIZONA
11
     United States of America,
12                                                        No. CR-22-08092-001-PCT-DGC
                           Plaintiff,
13
              vs.
14                                                     UNITED STATES’ RESPONSE TO
     Samuel Rappylee Bateman,                         MOTION TO PRECLUDE PRETRIAL
15                                                            PUNISHMENT
                           Defendant.
16
17
18          Defendant Bateman is charged with seven felonies, all of which he committed using
19   detention facility telephone and video systems. During the 77 days Bateman spent in
20   federal pre-trial detention before his communications were restricted, he participated in the
21   kidnapping or escape of eight children; had explicit sexual conversations with children;
22   violated a Coconino County Superior Court no-contact order; directed others to intimidate
23   a government witness; sought to influence potential testimony; and repeatedly misused
24   detention facility communications systems in violation of policy.
25          The United States has accordingly restricted Bateman’s communications access for
26   the legitimate purposes of protecting children, preventing criminal conduct, and
27   safeguarding an ongoing investigation. Bateman’s motion to reinstate non-legal
28   communications access should be denied.
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 1   I.      FACTUAL BACKGROUND
 2           Bateman is a self-proclaimed Prophet of the Fundamentalist Church of Jesus Christ
 3   of Latter-Day Saints (FLDS), a subset of the fundamentalist Mormon denominations whose
 4   members practice polygamy. He has approximately 50 followers and over 20 wives, nine
 5   of whom are minors currently between the ages of 12 and 16. Bateman allegedly has
 6   “impressions of Heavenly Father’s will” to encourage his followers, including the minor
 7   children, to engage in sexual acts and relies on that submission to do his own will. Bateman
 8   is a subject in a federal investigation into the transportation of minors in interstate
 9   commerce to engage in criminal sexual activity, and travel in interstate commerce to
10   engage in illicit sexual conduct with minors, beginning around May 2020.
11        A. Bateman used Coconino County Jail’s telephone system to obstruct justice.
12           On August 28, 2022, Bateman was arrested by Arizona Department of Public Safety
13   for child endangerment. Bateman was pulled over because he was towing a box trailer with
14   at least three minor females riding unsecured in the trailer. Bateman was temporarily
15   detained, and on August 28 made phone calls from the Coconino County Jail directing his
16   followers to “delete my Signal account now, the whole thing, delete every message, right
17   now.” (Discovery 1, -08-28-22_1826.mp3 at 0:45-1:15.)
18           On September 1, 2022, a Coconino County grand jury returned an indictment
19   charging Bateman with three counts of child abuse arising from the August 28 traffic stop.
20   (Exhibit 1, Filed Under Seal.) On October 7, 2022, the Coconino County Superior Court
21   entered an order prohibiting Bateman from “any contact whatsoever” with any of the
22   named child victims. (Exhibit 2 at 2, Filed Under Seal.)
23           On September 6, 2022, a federal grand jury returned an indictment charging
24   Bateman with Counts 1-3 in the present case, all of which relate to his phone calls from the
25   Coconino County jail directing others to delete Signal data to obstruct a federal
26   investigation and foreseeable criminal proceeding. (Doc. 3.) Bateman was arrested and
27   detained on September 13, 2022.
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 1      B. Bateman used CAFCC’s communications systems to kidnap children and
 2          obstruct justice.
 3          After Bateman’s federal arrest, nine minor girls, all believed to be wives of
 4   Bateman, were taken into Arizona Department of Child Services (DCS) custody on
 5   September 14, 2022. Bateman—using communications systems at the Core Civic/Central
 6   Arizona Florence Correctional Complex (CAFCC)—then conspired with others to remove
 7   the girls from DCS custody. And on November 27, at least three of Bateman’s adult wives
 8   succeeded in removing eight of the nine children from their DCS placements. Law
 9   enforcement found the girls in Spokane, Washington, on December 1, 2022.
10          On December 14, 2022, the federal grand jury returned a superseding indictment
11   charging Bateman and three of his wives with Counts 4-7, including tampering with an
12   official proceeding; conspiracy to tamper with an official proceeding; kidnapping; and
13   conspiracy to kidnap. (Doc. 23.) The kidnapping charges pertain to Jane Doe 4 (currently
14   13 years old), Jane Doe 8 (currently 12 years old), and Jane Doe 9 (currently 13 years old).
15          As set forth in the Superseding Indictment, Bateman used the recorded and
16   monitored CAFCC video call system to participate in the kidnapping. (Doc. 23.) For
17   example, on the morning of November 28, 2022, Bateman made a video call from CAFCC
18   to co-defendant Bistline, who appeared to be in a hotel room. Bistline told Bateman that
19   one of the girls was not with them, and Bateman told them they needed to get her. The
20   video panned to all eight minors taken from DCS custody. 1                (Discovery 111,
21   -13713982.mp4.)
22      C. Bateman used CAFCC’s communications systems to engage in sexual
23          discussions with children, in violation of a court order.
24          Despite Bateman’s knowledge that his non-legal communications are monitored, he
25   brazenly engaged in explicit sexual conversations with children, including with 13-year-
26
27          1
             Counsel and investigators for the United States have not reviewed all of Bateman’s
28   jail communications and the communications discussed herein are non-exhaustive.
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 1   old Jane Doe 4. On November 26, 2022, Bateman spoke to Jane Doe 4, then in DCS
 2   custody, who was on another phone line during a video call with some of Bateman’s adult
 3   wives. Bateman referred to Jane Doe 4 as his “sexy darling” and made statements
 4   including, “Is this [Jane Doe 4] Rappylee Bateman? . . . . I just want to rip off your bra and
 5   suck on your titties and fuck you” and, “You have such beautiful titties. I just want to fondle
 6   them . . . . Don’t you remember all those sacred times we spent together?” (Discovery 110,
 7   -13764022.mp4 at 10:10-14:02.) On the same day, Bateman spoke to 16-year-old Jane
 8   Doe 11, then in DCS custody, saying “I love you . . . [Jane Doe 11] Rappylee Bateman”
 9   and “I just want to suck on your beautiful titties and fuck you.”            (Discovery 110,
10   -13764062.mp4 at 0:10-0:35.) And the next day, on November 27, 2022, Bateman made
11   similar statements to 16-year old “[Jane Doe 10] Rappylee Bateman.” (Discovery 111,
12   -13714402.mp4 at 1:00-1:30.)
13          At the time of these calls, Bateman was prohibited from all contact with Jane Doe
14   4, who is a victim in the Coconino County child abuse case and covered by the Superior
15   Court’s no-contact Order. (Exhibit 2.)
16      D. Bateman used CAFCC’s communications systems to direct witness
17          intimidation and influence potential testimony.
18          On the same day Bateman made sexual comments to Jane Doe 4 and Jane Doe 11,
19   he also directed some of his wives to send intimidating messages to government witness
20   CM, who is not a FLDS member or follower of Bateman but had previously gained
21   Bateman’s trust as someone who tried to help the members of their community. Using the
22   CAFCC video call system, Bateman asked one of his wives to send CM a verse of scripture
23   from Doctrine and Covenants Section 121, which states in part: “Wo unto all those that
24   discomfort my people, and drive, and murder, and testify against them, saith the Lord of
25   Hosts; a generation of vipers shall not escape the damnation of hell.” Bateman instructed
26   the woman to use a blocked phone number to “tell [CM] that I gave you the message to
27   send this to her and tell her that she picked the wrong religion to hate. K? . . . . You should
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 1   also tell her that I can guarantee that her and Little Froggy have cancer already forming in
 2   their bodies.” (Discovery 110, -13762332.mp4 at 4:55-6:20.)
 3          Bateman’s video calls further show attempts to influence the testimony of his
 4   followers, including statements like, “They are going to try breaking our testimony and we
 5   will not give in.” (Discovery 110, -13764012.mp4.)
 6      E. Bateman violated CAFCC communications policies.
 7          The United States is also aware that Bateman disregarded CAFCC communications
 8   rules by having video communications with individuals, who then brought third parties into
 9   the calls using separate electronic devices. Bateman was admonished for this conduct and
10   had privileges removed by CAFCC, but he continued to participate in three-way calling.
11      F. Bateman’s CAFCC communications were suspended.
12          On November 29, 2023—two days after Bateman’s child wives were taken from
13   DCS custody and while they were still missing—Government counsel requested that
14   CAFCC suspend Bateman’s communication privileges, except for communications with
15   his counsel. Bateman’s counsel was notified of the request the same day. CAFCC honored
16   the request and Bateman’s communications remain restricted.
17          Even after the restrictions were imposed, Bateman continued to violate the rules and
18   attempted to find ways to circumvent those restrictions. On at least one occasion on
19   November 30, 2022, Bateman used the identifying PIN number of another detainee to
20   attempt to make a call. Bateman continues to try to call blocked phone numbers nearly
21   every day.
22          While Bateman’s adult wives are aware of the communication restrictions, they too
23   continue to try to circumvent the rules by changing email addresses and phone numbers to
24   frustrate CAFCC’s efforts. Most recently, on March 3, 2023—the date of this filing—a
25   new email address in the name of “Elaine Bateman” (a known code name for one of
26   Bateman’s adult wives) was created and Bateman received approximately 33 messages
27   before the new email address was blocked.
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 1   II.    LEGAL STANDARD
 2          When a pre-trial detainee challenges an aspect of his pretrial detention that is not
 3   alleged to violate any express guarantee of the Constitution, at issue is the detainee’s right
 4   to be free from punishment. See Bell v. Wolfish, 441 U.S. 520, 534 (1979). Such challenges
 5   arise under the Fourteenth Amendment Due Process Clause. Id. at 535. The Due Process
 6   Clause protects pretrial detainees from punishment. Id. at 537; see also United States v.
 7   Salerno, 481 U.S. 739, 746 (1987) (pretrial detainees have a substantive due process right
 8   against restrictions that amount to punishment). This substantive due process right is
 9   violated if restrictions are “imposed for the purpose of punishment.” Valdez v. Rosenbaum,
10   302 F.3d 1039, 1045 (9th Cir. 2002) (citing Bell, 441 U.S. at 535). There is no
11   constitutional infringement, however, if the restrictions are “but an incident of some other
12   legitimate government purpose.” Id. (citing Bell, 441 U.S. at 535). In that case,
13   “governmental restrictions are permissible.” Id.
14          In distinguishing between a permissible restriction and impermissible punishment,
15   the first determination is “whether the restriction is based upon an express intent to inflict
16   punishment.” Valdez, 302 F.3d at 1045. Absent an express intent to inflict punishment, the
17   court turns to “whether punitive intent can be inferred from the nature of the restriction.”
18   Id. Moreover, courts afford significant deference to prison officials’ discretion to manage
19   their prisons. See Bell, 441 U.S. at 548; Michenfelder v. Sumner, 860 F.2d 328, 331 (9th
20   Cir. 1988). As the Ninth Circuit has stated, prison and jail officials should be accorded
21   “wide-ranging deference in the adoption of policies and practices that in their judgment are
22   needed to preserve internal order and discipline and to maintain institutional security.”
23   Frost v. Agnos, 152 F.3d 1124, 1130 (9th Cir. 1998) (quoting Bell, 441 U.S. at 540).
24          Relatedly, a prison regulation that impinges on an inmate’s alleged constitutional
25   right “is valid if it is reasonably related to legitimate penological interests.” Valdez, 302
26   F.3d at 1048 (citing Turner v. Safley, 482 U.S. 78, 89 (1987)). See also Bell, 441 U.S. at
27   533 (“[E]ven when an institutional restriction infringes a specific constitutional guarantee,
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 1   the practice must be evaluated in the light of the central objective of prison administration,
 2   safeguarding institutional security.”). Courts consider the following in making that
 3   reasonableness determination:
 4
 5          (1) whether there is a valid, rational connection between the restriction and
            the legitimate governmental interest put forward to justify it; (2) whether
 6          there are alternative means of exercising the right; (3) whether
            accommodating the asserted constitutional right will have a significant
 7
            negative impact on prison guards and other inmates, and on the allocation of
 8          prison resources generally; and (4) whether there are obvious, easy
            alternatives to the restriction showing that it is an exaggerated response to
 9
            prison concerns.
10
11   Valdez, 302 F.3d at 1049. An inmate “has no First Amendment right of access to a

12   telephone.” Hayat v. Garber, No. CV 13-1381-PHX-DGC, 2013 WL 5913790, at *2 (D.

13   Ariz. Nov. 1, 2013). References in Ninth Circuit cases to right of access to a telephone

14   “were dicta, and no opinion has identified the source of such a right.” Id. The Ninth Circuit

15   does identify a First Amendment right to “communicate with persons outside prison walls.

16   Use of a telephone provides a means of exercising this right.” Id. (citing Valdez, 302 F.3d

17   at 1048) (emphasis in original).

18      III.   ARGUMENT

19          The United States acted in compliance with the Constitution when it suspended

20   Bateman’s communications privileges for legitimate governmental purposes, and those

21   purposes remain valid today. Bateman cannot show a due process violation nor a First

22   Amendment violation and his motion should be denied.

23          A. Bateman’s communication restrictions do not violate due process because

24             they were not imposed for the purpose of punishment.

25          The United States suspended Bateman’s communication privileges because he used

26   communications systems in numerous illegal and improper ways, not to illegally punish

27   him. There is no government intent—whether express or implied—to inflict punishment

28   upon Bateman. He had the same communications access as every other pretrial detainee
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 1   for more than two months, until it became apparent he had violated CAFCC policy by
 2   three-way calling, violated the Coconino County no-contact order, sought to influence
 3   victims and/or witnesses, and played a significant role in the removal and kidnapping of
 4   minors from DCS custody. Only after Bateman conspired in the kidnapping of three young
 5   girls did the United States take action to suspend his communications out of concern
 6   Bateman would continue to endanger minor victims and interfere with legitimate
 7   investigative efforts.
 8          This restriction is related to legitimate, ongoing governmental purposes including
 9   protecting children, preventing new criminal conduct, and maintaining the integrity of the
10   ongoing sex trafficking investigation. Haraszewski v. Brannan, No. 10CV0546-LAB PCL,
11   2013 WL 4516776, at *9 (S.D. Cal. Aug. 21, 2013) (“Protecting people inside or outside
12   the detention facility qualifies as a security concern, and not punishment, and this is an
13   appropriate motive for state officials both inside and outside a jail.”); United States v. Vega-
14   Soto, No. 06CR1242 DMS, 2007 WL 9655860, at *3 (S.D. Cal. Apr. 4, 2007) (ruling that
15   a social communication restriction furthered facility’s “efforts to prevent defendants from
16   using the phone to facilitate illegal activities”). The United States has an interest in the
17   safety and wellbeing of the minors in DCS custody, all of whom are potential or likely
18   victims or witnesses, and some of whom are named victims in the Coconino County or
19   federal indictments. Further, Bateman has already directed others to delete likely evidence,
20   in particular Signal messaging data, and asked one of his followers to send an intimidating
21   message to CM.
22          The communications suspension is reasonably related to these high-priority
23   interests and is not an exaggerated response. When Bateman had communications access,
24   he committed obstruction of justice, made sexual statements to his child wives, participated
25   in the escape and kidnap of minors, and sought to influence potential victims and witnesses
26   not to cooperate with the federal investigation. Suspension of Bateman’s communication
27   was—and continues to be—a rational, proportional response to prevent Bateman from
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 1   endangering minors, committing new crimes, and continuing to tamper with evidence and
 2   witnesses. Lewis v. King Cnty. Jail, No. C15-1633-JLR-JPD, 2016 WL 8193689, at *3
 3   (W.D. Wash. Oct. 24, 2016), report and recommendation adopted, No. C15-1633-JLR,
 4   2017 WL 464440 (W.D. Wash. Feb. 2, 2017) (finding no due process violation where
 5   pretrial detainee was placed on “phone deadlock” after using “jail phone system to
 6   repeatedly violate a no-contact order and to tamper with a victim/material witness in his
 7   pending criminal cases”). And a total prohibition on non-legal communications is justified
 8   because Bateman could engage in improper communication in-person or through mail,
 9   electronic messaging, telephone, video, or other means.
10          Because Bateman’s communications have been suspended for legitimate reasons,
11   his due process rights have not been violated.
12          B. Bateman’s communication restrictions do not violate the First Amendment
13             because they are reasonably related to legitimate penological interests.
14          Bateman has also not shown a First Amendment entitlement to jail communications.
15   The Ninth Circuit has recognized that detainees have some First Amendment right to
16   communicate with people outside detention facilities, but the right is not absolute. Valdez,
17   302 F.3d at 1048.
18          Here, there is no constitutional violation because the communications restriction is
19   reasonably related to legitimate governmental interests for the reasons stated in Section
20   III.A., supra. Further, Bateman can still exercise his First Amendment rights by
21   communicating with his legal team in any way and with whatever frequency he wishes.
22          And, as in Valdez, allowing Bateman communications access would require
23   CAFCC “to allocate additional resources to monitor his [communications]” to mitigate the
24   valid concerns raised by his conduct. 302 F.3d at 1049. Bateman communicated through
25   video and phone calls, during in-person visits, and using electronic messaging. It would be
26   unduly burdensome for the Government to monitor any or all these means of
27   communications in real time, particularly because his communications are extensive.
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 1   Bateman suggests his communications could be reviewed after he makes them, but he was
 2   not deterred from illegal and inappropriate behavior despite knowing his communications
 3   are monitored and succeeded in committing crimes despite such monitoring.
 4          Finally, there are no obvious, easy alternatives to the communication suspension.
 5   Bateman has suggested he be permitted to communicate with three of his wives, but this is
 6   unlikely to provide a meaningful limitation on his communications. In past telephonic and
 7   video communications, Bateman commonly called one phone number to speak with
 8   multiple people (including children) who were either together in one location or who
 9   participated on a third device in contravention of CAFCC policy. As a practical matter, it
10   will be very difficult for the CAFCC staff to ensure Bateman is communicating with only
11   certain individuals if the Court were to allow his communications to resume.
12          For all these reasons, the United States’ limitation on Bateman’s First Amendment
13   rights is reasonable and constitutionally valid. 2
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              As an attempted compromise, the United States offered to allow Bateman access
26   to communicate with his three biological sons, who are not believed to be participants in
     the sex trafficking of children. While Bateman would like contact with his sons, he also
27   seeks contact with his wives. The United States has ongoing concerns that some of
     Bateman’s wives have been involved in sex crimes and/or are interfering with DCS custody
28   of the minors.
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 1      IV.      CONCLUSION
 2            Bateman abused communications systems in the Coconino County Jail and CAFCC
 3   to commit crimes, engage in sexual communications with children, violate a court order,
 4   seek to influence potential victims or witnesses, and evade CAFCC communications
 5   policies. The United States has complied with the Constitution in restricting his
 6   communications, and his motion to reinstate his communications privileges should be
 7   denied.
 8            Respectfully submitted this 3rd day of March, 2023.
 9                                                       GARY M. RESTAINO
                                                         United States Attorney
10                                                       District of Arizona
11
                                                          s/ Jillian Besancon
12                                                       DIMITRA H. SAMPSON
                                                         JILLIAN BESANCON
13                                                       Assistant U.S. Attorneys
14
15
16
17
18
19                                CERTIFICATE OF SERVICE
20          I hereby certify that on March 3, 2023, I electronically transmitted the attached
     document to the Clerk’s Office using the CM/ECF System for filing a copy to the following
21   CM/ECF registrant: Marc Victor, Jose Saldivar, Sandra Hamilton, and Steve Wallin,
     Attorneys for Defendants Bateman, Bistline, Barlow, and Johnson
22
23    s/ Jillian Besancon
     U.S. Attorney’s Office
24
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